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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               CHARLESTON DIVISION

 B.P.J. by her next friend and mother, HEATHER
 JACKSON,

                             Plaintiff,

                       v.                                Civil Action No. 2:21-cv-00316

 WEST VIRGINIA STATE BOARD OF                            Hon. Joseph R. Goodwin
 EDUCATION, HARRISON COUNTY BOARD
 OF EDUCATION, WEST VIRGINIA
 SECONDARY SCHOOL ACTIVITIES
 COMMISSION, W. CLAYTON BURCH in his
 official capacity as State Superintendent, DORA
 STUTLER in her official capacity as Harrison
 County Superintendent, and THE STATE OF
 WEST VIRGINIA,

                             Defendants,

                       and

 LAINEY ARMISTEAD,

                             Defendant-Intervenor.


   PLAINTIFF’S CONSOLIDATED REPLY IN SUPPORT OF HER MOTIONS IN
 LIMINE TO EXCLUDE EVIDENCE REGARDING THE POTENTIAL NUMBER OF
     GENDER IDENTITIES (DKT. NO. 409) AND TO EXCLUDE EVIDENCE
 REGARDING DEFENDANT-INTERVENOR’S REQUESTS FOR ADMISSION (DKT.
                              NO. 410)

       Pursuant to Federal Rules of Evidence 401, 402, and 403, B.P.J. has moved the Court to

exclude as irrelevant any testimony and/or the introduction of any evidence regarding the opinions

of B.P.J. or her medical providers on the number of gender identities that potentially exist (Dkt.

No. 409 (Pl. MIL)) and also to exclude Intervenor’s RFAs 13-61 concerning hypothetical

individuals (Dkt. No. 410 (Pl. MIL)). At bottom, the State and Intervenor oppose B.P.J.’s motions



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because, according to them, “evidence does not have to concern B.P.J. to be relevant to this case.” 1

(Dkt. No. 429 (Intervenor Opp.) at 2.) Regardless, evidence must be relevant to a question of law

or fact at issue in this case to be admissible, and yet the State and Intervenor fail to explain the

relevance of the potential number of gender identities or Intervenor’s confusing, irrelevant, and

voluminous RFA hypotheticals. B.P.J.’s motions should be granted.

                                           ARGUMENT

        This case concerns B.P.J.’s request for a prohibitory injunction against H.B. 3293 that

allows her to play school sports as the girl that she is—as she could have prior to H.B. 3293’s

enactment. (Dkt. No. 64 (Amended Complaint) at 24; Dkt. No. 290 (Plaintiff’s SUF) ¶¶ 38–39.)

B.P.J. is not asking this Court to establish a new system for separating sports teams or suggesting

that sex-separated sports teams are invalid. Instead, B.P.J. simply wants the right to participate on

school sports teams with other girls with whom she is most similarly situated. (Dkt. No. 67 (PI

Order) at 7.) With that context, the State’s and Intervenor’s oppositions to B.P.J.’s motions are

misplaced.

        First, there is no relevance to this lawsuit whatsoever in discussing the validity or quantity

of gender identities that may exist. Fed. R. Evid. 402. The State and Intervenor argue that it “is

not a realistic means of separating sports teams” if gender identity is the standard and there are

more than two gender identities. (Dkt. No. 429 (Intervenor Opp.) at 5.) But that entirely misses

the point. B.P.J. is not seeking to establish a new system for separating sports teams in West




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  As explained in her opposition to Defendants’ motion for summary judgment, the State’s and
Intervenor’s arguments are based on a faulty application of heightened scrutiny that is inconsistent
with Supreme Court precedent and the Fourth Circuit’s decision in Grimm v. Gloucester County
School Board, which upheld an as-applied challenge by a transgender student under both the Equal
Protection Clause and Title IX. 972 F.3d 586, 606–07 (4th Cir. 2020). (See Dkt. No. 331 (Pl.’s
MSJ Opp. at 33–37).)
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Virginia based on gender identity. On the contrary, the question presented by this case is whether

B.P.J. was unlawfully discriminated against. If so, she would be entitled to relief allowing her to

play with the girls as she would have been able to prior to H.B. 3293. Allowing a student to

participate on a pre-established team consistent with their gender identity does not require a debate

about the number of gender identities, nor does it require contemplating other ways that sports

teams could be separated. It simply requires this Court to return West Virginia to the system that

worked, without issue, for decades before H.B. 3293’s enactment. The State’s effort to introduce

irrelevant and confusing evidence about the number of identities should be rejected. See Watkins

v. Cook Inc., 2015 WL 1395638, at *2–4 (S.D.W. Va. Mar. 25, 2015) (excluding evidence which

would have posed “substantial risks of misleading the jury and wasting judicial resources by diving

into [topics] . . . none of which relate to the . . . claims at issue”) (Goodwin, J.); see also Dimock

v. Ethicon, Inc., 2016 WL 11524466, at *1 (S.D.W. Va. Nov. 29, 2016) (noting that a court should

exclude testimony where “[a]ny kernel of relevance is outweighed by ‘the very substantial dangers

of misleading the jury and confusing the issues.’”) (Goodwin, J.).

       Second, Intervenor claims that her burdensome and irrelevant RFAs (Nos. 13-61) all

purport to “test” B.P.J.’s legal theory that sports should be separated based on “gender identity.”

(Dkt. No. 429 (Intervenor Opp.) at 3.) Intervenor concedes that all of the RFAs at issue seek to

apply “law to fact” to this made-up legal theory erroneously attributed to B.P.J. (Id. at 3.)

Specifically, Intervenor claims that “in many instances, the request simply asked whether a

particular type of person is similarly situated to B.P.J.” or whether “certain categories of people

are similarly situated under B.P.J.’s legal theory.” (Id. at 3–4.) But as stated supra, B.P.J. is not

suggesting that sports teams in West Virginia be realigned and separated based on gender identity.

Instead, B.P.J. is simply bringing an as-applied challenge that will allow her to play girls’ sports



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as would be permitted under the pre-H.B. 3293 framework. Hypotheticals about other persons or

categories of people are thus wholly irrelevant to the simple and straightforward issue presented

by this case.

                                        CONCLUSION

       Confusing and inapposite debates related to the number of gender identities or the

circumstances of hypothetical persons—none of which pertain to B.P.J.’s claims in this case—will

serve only to confuse the issues at trial and waste everyone’s time. The Court therefore should

exclude this evidence.



 Dated: July 11, 2022                              Respectfully Submitted,
                                                   /s/ Loree Stark




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 LAINEY ARMISTEAD,

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                                CERTIFICATE OF SERVICE

       I, Loree Stark, do hereby certify that on this 11th day of July 2022, I electronically filed

a true and exact copy of the Plaintiff’s Reply in Support of her Motion in Limine to Exclude

Evidence and/or Argument Regarding the Potential Number of Gender Identities and

Supporting Memorandum of Law with the Clerk of Court and all parties using the CM/ECF

System.

                                                    /s/ Loree Stark
                                                    Loree Stark
                                                    West Virginia Bar No. 12936


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